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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

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THOMAS A DASCHLE, * CIV 04-4177
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Plaintiff, *
OB
VS, * TEMPORARY
** RESTRAINING ORDER
JOHN THUNE: **
SOUTH DAKOTA REPUBLICAN *
PARTY; and JOHN DOES 1-200, *
Defendants. **
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Under the principles of Bush v. Gore, 531 U.S. 98 (2000), the Court finds that the Plaintiff
Thomas A. Daschie has standing to bring the present action. The action shows that Plaintiff
Daschle is suing on his behalf as well as on behalf of persons who are unable to protect their own
rights, that being Native Americans, to vote in this South Dakota General Election. See also Ori
Kaga, Inc. v. South Dakota Housing Authority, 342 F.3d 871, 881-82 (8" Cir. 2003), and cases

cited therein.

Oral testimony, photographs, and arguments were presented by the Plaintiff and the
Defendants concerning today’s events in a hearing from 8:00 P.M. untii 11:30 P.M. this evening.
Due to the fac: that the General Election voting commences at 7:00 A.M. tomorrow morning, the

Court cannot prepare a more detailed opinion.

After receiving evidence on behalf of Plaintiff and Defendants in the form of oral testimony
as well as photographs, the Court applies the four factor tests from Dataphase Systems, Inc. v. CL
Systems, Inc., 540 F.2d 109 (8" Cir. 1981), and concludes that there clearly is the threat of
irreparable harm to the Movant in that if Native Americans are improperly dissuaded from voting,

those voters normally simply disappear and there is no identifying most of them and even if

 
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identified, they can’t vote later. The harm that will be inflicted upon the Movant is far preater
than any injury granting the temporary restraining order will cause Defendants. The Movant and
the Native American voters whose rights are asserted by the Movant will suffer the irreparable
harm described above while Defendants are only being required to follow the law. The Court does
find that the Movant is more likely to succeed on the merits of the equal protection claim and the
claims under 42 U.S.C. § 1973i(b) and 42 U.S.C. § 1985(3), as the Court finds that there was
intimidation particularly targeted at Native American voters in Charles Mix County by persons
who were acting on behalf of John Thune. The Eighth Circuit has ruled that injunctive relief is
available under § 1985(3). See Brewer v. Hoxie School District, 238 F.2d 91 (8"" Cir. 1956).
Whether the intimidation was intended or simply the result of excessive zeal is not the issue, as
the result was the intimidation of prospective Native American voters in Charles Mix County.
This is a small Native American population within which word travels quickly. Finally, the public

interest is served by having no minority denied an opportunity to vote. Accordingly,

IT IS ORDERED that a Temporary Restraining Order is entered against Joel C.
Mandelman and all other Defendant John Does acting on behalf of John Thune in Charles Mix
County prohibiting them from following Native Americans from the polling places and directing
that they not cupy the license plates of Native Americans driving to the polling places, or being
driven to the polling places, and further directing that the license plates of Native Americans

driving away from the polling places also not be recorded.
Dated this o ™ day of November, 2004,

BY THE COURT:

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awrence L. Fiersol
ATTEST: Chief Judge
JOSEPH HAAS, CLERK

BY: Reh P. $04 Sim

DEPUTY
